Howard A. Lazar

Delaney Wiles, Inc.

1007 W. 3rd Ave., Ste. 400
Anchorage, AK 99501
907-279-3581 Ph.
907-277-1331 Fax
hal@delaneywiles.com

 

Attorneys for Defendant
Alvaro Testa, M.D.

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA
FREDILITO TUMBAGA; EVAN
TUMBAGA; JUSTIN TUMBAGA; and,
JAYDEN TUMBAGA, a minor, by
EVAN TUMBAGA, his parent,
Plaintiffs,
Case No. 3:06-cv-00247-RRB
UNITED STATES OF AMERICA &

ALVARO TESTA, MD,

Defendants.

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stassi-seem ORDER FoR DISMISSAL wITH PREJUDICE
THIS MATTER having come before the Court upon
stipulation of the parties and the Court being fully apprised in
the premises, IT IS HEREBY ORDERED that the claims asserted in
this action against Alvaro Testa, M.D. are dismissed with
prejudice, with. all parties bearing their own costs and fees

with regards to the claims asserted against Alvaro Testa, M.D.

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DATED this B day of T&!§§O"\`;Z , at Anchorage, AK.

M

UNITEI§\ STATES DISTRICT COURT JUDGE

138398

(PROPOSED) ORDER FOR DISMISSAL WITH PREJUDICE
TUMBAGA V. UNITED STATES OF AMERICA & ALVARO TESTA, MD
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